     Case 2:21-cv-01568-MTL Document 177-5 Filed 03/28/22 Page 1 of 2




 1
 2                           UNITED STATES DISTRICT COURT
                                    DISTRICT OF ARIZONA
 3
     Mark Brnovich, in his official capacity as No. 2:21-cv-01568-MTL
 4   Attorney General of Arizona; et al.,
                 Plaintiffs,                    [PROPOSED] ORDER
 5
           v.
 6   Joseph R. Biden in his official capacity as
 7   President of the United States; et al.,

 8               Defendants.

 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     Case 2:21-cv-01568-MTL Document 177-5 Filed 03/28/22 Page 2 of 2




 1          Having considered Plaintiffs’ Motion for Jurisdictional Discovery,
 2          IT IS HEREBY ORDERED, the Court will permit Plaintiffs to serve five requests
 3   for production, five interrogatories, and take up to three depositions.
 4          IT IS FURTHER ORDERED that Defendants shall produce the Administrative
 5   Record for Plaintiffs’ Immigration Claims within 21 days of this order.
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26


                                                   1
